      Case 1:20-cv-03010-APM           Document 1165         Filed 02/14/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                        Plaintiffs,
                                                    Case No. 1:20-cv-03010-APM
 v.
                                                    HON. AMIT. P. MEHTA
 GOOGLE LLC,

                        Defendant.


 STATE OF COLORADO, et al.,

                        Plaintiffs,

 v.                                                 Case No. 1:20-cv-03715-APM

 GOOGLE LLC,                                        HON. AMIT P. MEHTA

                        Defendant.



                        ANTHROPIC PBC’S MOTION FOR LEAVE
                         TO PARTICIPATE AS AMICUS CURIAE

       Anthropic PBC hereby moves for leave to participate in the remedial phase of this action

as an amicus curiae, to file a post-hearing brief alongside the parties, and to submit declarations

from up to two fact witnesses. The grounds for this motion are set forth in the accompanying

memorandum of law. Pursuant to Local Civil Rule 7(m), Anthropic’s counsel has conferred with

counsel for all parties regarding this motion. Plaintiffs United States of America, et al., and

Plaintiffs State of Colorado, et al., do not oppose Anthropic’s motion as to its proposed amicus

brief, but do oppose the affidavits from fact witnesses. Defendant Google LLC takes no position

on this motion.
     Case 1:20-cv-03010-APM   Document 1165   Filed 02/14/25      Page 2 of 2




Dated: February 14, 2025

                                        Respectfully submitted,

                                        /s/ Paul Alessio Mezzina
                                        Veronica Moyé
                                         (pro hac vice application forthcoming)
                                        Benjamin T. Lee
                                         (pro hac vice application forthcoming)
                                        KING & SPALDING LLP
                                        2601 Olive Street
                                        Suite 2300
                                        Dallas, TX 75201
                                        (214) 764-4600
                                        vmoye@kslaw.com
                                        benjamin.lee@kslaw.com

                                        Nema Milaninia
                                         (pro hac vice application forthcoming)
                                        Paul Alessio Mezzina
                                         DC Bar No. 999325
                                        Sumon Dantiki
                                         (pro hac vice application forthcoming)
                                        KING & SPALDING LLP
                                        1700 Pennsylvania Avenue NW
                                        Suite 900
                                        Washington, DC 20006
                                        (202) 737-0500
                                        nmilaninia@kslaw.com
                                        pmezzina@kslaw.com
                                        sdantiki@kslaw.com

                                        Counsel for Movant Anthropic PBC
